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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

 SAIFULLAH KHAN,

                    Plaintiff,

         ►~                                                 Case No. 3:19-cv-001966-KAD

 YALE UNIVERSITY, ET AL.,
                                                            June 30, 2020
                    Defendants.



              REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
                       JANE DOE'S MOTION TO DISMISS

       Pursuant to F.R.C.P. 12(b)(6) and Rule 7(d) of the Local Rules of this Court, Defendant

Jane Doe ("Ms. Doe") submits this Reply in further support of her Motion to Dismiss (Doc. 26).



       Plaintiff's Objection (Doc. 31 ("Objection")) fails to rebut the reasons why the Court

should dismiss all claims made against Ms. Doe.

       Ms. Doe is entitled to absolute immunity with respect to her involvement with Yale's

UWC. Plaintiff's argument relies entirely on law from outside Connecticut, and his argument has

been definitively t•ejected by Connecticut courts.

       Plaintiff cannot avoid dismissal under Connecticut's anti-SLAPP statute because he does

not come close to satisfying his burden of establishing with particulat•ity probable cause that he

will prevail on his claims.

       The continuing course of conduct doctrine does not apply to this case. The Court must

therefore dismiss Plaintiff's tortious interference claim to the extent it relies on alleged conduct

that purportedly occurred prior to January 9, 2017.

       The Court should therefore dismiss Plaintiff's claims in their entirety, with prejudice.
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 MS.DOE IS ENTITLED TO ABSOLUTE IMMUNITY; THERE IS NO REQUIREMENT
   THAT QUASI-JUDICIAL PROCEEDINGS MUST BE RUN BY STATE ACTORS.

        Plaintiff cannot contest that UWC proceedings meet the Connecticut Supreme Court's six-

 factor test for quasi-judicial proceedings. Thus, participants before the UWC are entitled to

 absolute immunity. See, e.g., C~~aig v. Staffo~~d Const., Inc., 271 Conn. 78, 83-84, 856 A.2d 372,

 376 (2004); Ms. Doe's Memorandum of Law in support of her Motion to Dismiss (Doc. 27

("Memorandum")) at 17-21. Citing no Connecticut case, Plaintiff argues that quasi-judicial

 proceedings must be run by state actors. (Objection at 6.) However, the test tor• whether a

 proceeding is quasijudicial asks what happens in the proceeding, not who runs it, see, e.g., Craig,

 271 Conn. at 83-84; Memorandum at 17-21, and Connecticut case law establishes that

 proceedings undertaken by non-state actors can be quasi-judicial.

        The Connecticut Supreme Court has explained that the quasi-judicial proceedings to which

"immunity attaches ... include[] any heal°ing befoi°e a t~~ibicnal which performs a judicial function,

 ex parte or otherwise, and whether the heap^ing is' public o~^ not." See, e.g., Pety~zn v. Ellis, 200

 Conn. 243, 246, 510 A.2d 1337, 1338 (1986)(all emphasis added), super°seded by statute on other°

grounds as stated in Chadha v. ChaNlotte Hunger°ford Hosp., 272 Conn. 776, 865 A.2d 1163

(2005). The Connecticut Supreme Court has liberally defined the scope of proceedings that may

 be quasi-judicial: "`[J]udicial proceeding' has been defined liberally to encompass' much more

 than civil litigation oN criminal t~~ials," Hopkins v. O'Connor^, 282 Conn. 821, 839,925 A.2d 1030,

 1042(2007)(emphasis added), and proceedings "are regarded as judicial or quasijudicial""so far

as they have powers of discretion in applying the law to the facts," Craig, 271 Conn. at 85.

        UWC proceedings meet the Connecticut Supreme Court's definition of quasi-judicial

proceedings.     The UWC is a tribunal that performs a quintessential judicial function.

(Memorandum at 18-20.) It applies the law (both Title IX and Connecticut General Statutes §


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 l0a-SSm) to the facts of the cases before it. Plaintiff cannot contest that. (Objection at 6-9.) His

 argument that the hearing must be run by a "state actor•" is not found in the Court's six-factor test. ~

 See CNaig, 271 Conn. at 85.

          Moreover, the Connecticut Appellate Court has concluded that proceedings run by non-

 state actors may be quasi-judicial. In Preston v. O'Rou~~ke, 74 Conn. App. 301, 310-11, 811 A.2d

 753, 760 (2002), the Appellate Court stated that "[o]ftentimes, arbitration is a quasi judicial

 proceeding," and "concluded that the arbitration [in that case] was aquasi-judicial proceeding."

Id. at 310, 312(quoting Petyan, 200 Conn. at 246 and citing, e.g., Flor°a.synth, Inc. v. Pickholz, 750

F.2d 171, 174 (2d Cii°. 1984)("[A]rbitrators act in aquasi-judicial capacity . . . .")).~ PNeston

dooms Plaintiff's "state actor" argument because the Appellate Court recognized that a proceeding

does not need to be run by a "state actor" to be quasi-judicial.3

         Plaintiff concedes that Rom v. Fairfield University, No. CV0203915125,2006 WL 390448,

at *5 (Conn. Super. Ct. Jan. 30, 2006), is directly on point because it applied "quasi-judicial

absolute immunity to statements made before a private university's disciplinary body." (Objection




  The Connecticut Supreme Court has also explained that it is "important to consider whether there is a sound public
policy reason for" absolute imm~mity. Id. at 85; see also Hopkins, 282 Conn, at 828-29 ("[A]bsolute immunity
furthers the public policy of encouraging participation and candor in judicial and quasi-judicial proceedings. This
objection would be thwarted if those persons whom the common-law doctrine was intended to protect nevertheless
faced the threat of suit."). The public policy for attaching absolute immunity to UWC proceedings could not be
stronger: "If sexual assault victims are at risk of facing a civil lawsuit from their attacker thro~ighout the reporting
and disciplinary process, they will be less likely to come forwat•d and report the crime . . . . This places the entire
campus unnecessarily at a safety risk, thus dampening the intended pw-pose of higher education in a safe environment."
Razavi v. Sch. ofthe Art lest. of Chicago, 2018 [L App (1st) 171409, ¶ 29, 122 N.E.3d 361, 369-71, case a'isnzissed
sub none. Razcrvi v. Sch. ofArt Inst. ofChicago, 124 N.E3d 475 (II1. 2019).

2 Florasynth involved private arbitration between an employee and his private employer. Flo~~asynth Inc., 750 F.2d
at 172. Thus, the Appellate Court recognized in P~•eston that private arbitration, run by non-state actors, can be quasi-
judicial.

 "This Court is bound to apply the law as interpreted by a state's intermediate appellate courts ~mless there is
persuasive evidence that the state's highest court would reach a different conclusion." V.S. v. Muhammad, 595 F.3d
426, 432 (2d Cir. 2010). There is no such persuasive evidence. As discussed above, Connecticut Supreme Court
jurisprudence supports the Appellate Court's recognition that proceedings can be quasi-judicial even if they are not
run by "state actors."

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 at 7). Plaintiff's only challenge to Rom is that ``the plaintiffs in that case ciid not t•aise the argument

 that quasi-judicial immunity could not apply in a private disciplinary proceeding." (Objection at

 7.) But that is not coriect. "The plaintiff [in Rom] argued] that the Fairfield University judicial

 hearing d[id] not qualify as aquasi-judicial proceeding . . . [because] the class of absolutely

 privileged communications . . . is limited to legislative and judicial proceedings and acts of state."

 Rom, 2006 WL 390448, at * 1. The Rom Court rejected that argument and held that "the Judicial

 Board at Fairfield University is aquasi-judicial proceeding."

         Finally, Plaintiff offers a few cases from outside Connecticut that are at odds with

 Connecticut law. (Objection at 6-7.) These cases rely on the law of other states that limit quasi-

judicial proceedings to public proceedings. As discussed above, ConnecticLrt law does not impose

 such a limitation.`

       THE CLAIMS MUST BE DISMISSED UNDER THE ANTI-SLAPP STATUTE
         BECAUSE PLAINTIFF HAS NOT ESTABLISHED PROBABLE CAUSE.

         Plaintiff concedes that the Anti-SLAPP statute applies to this case. (Objection at 9.) The

 Anti-SLAPP statute requires him to set forth with particularity that there is probable cause to

 believe that he will prevail despite Ms. Doe's defenses. Conn. Gen. Stat. § 52-196a(e)(3); see Day

 v. Dodge, No. KNLCV1860353625, 2019 WL 994532, at *5—*6(Conn. Super. Ct. Jan. 25, 2019)

(dismissing claims where plaintiff failed to adduce necessary evidentiary support of bad faith).

Plaintiff has not done that. He has failed to adduce any evidentiaNy support upon which the Court

could find that he may prevail on his claims that Ms. Doe made her allegations in bad faith.

Plaintiff has simply reasserted his conclusoi•y allegations that Ms. Doe lied. That is insufficient.




`~ There are also states with laws simila►~ to that of Connecticut. See, e.g., Doe v. Univ. of Dayton, 766 F. App'x 275,
290 (6th Cir. 2019) (citing Savoy v. Univ. of Akron, I S N.E.3d 430, 435-36 & n.3 (affording absolute privilege to
statements made in the context of university disciplinary proceedings)); Fogel v. University of the Arts, No. CV 18-
5137, 2019 WL 1384577, at * ] (E.D. Pa. Mar. 27, 2019) (applying absolute immunity to Title IX proceeding).

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See, e.g., Day, 2019 WL 994532, at *5—*6. Plaintiff cannot overcome this deficiency by asking

for a hearing; the statute requires he supply the court with evidence.' Conn. Gen. Stat. § 52-

196a(e)(2).

         Plaintiff trumpets the acquittal he obtained in a criminal proceeding (Objection at 12), but

that proceeding and acquittal ai~e irrelevant. Yale adjudicated Ms. Doe's allegations of misconduct

under Title IX, Connecticut General Stattrtes ~ l0a-SSm, and its own policies, and it applied a

preponderance of the evidence standard. In contrast, the State had to prove beyond a reasonable

doubt that, among other things, Plaintiff used or threatened to use force against Ms. Doe to compel

her to engage in sexual intercourse or contact, see Conn. Gen. Stat. §§ 53a-70(a)(1), 53a-

72a(a)(1)(A), that Ms. Doe was physically helpless, § 53a-71a(3), or that Plaintiff acted with

criminal negligence by having sexual contact with Ms. Doe without her consent, § 53a-73a(a)(2).~

To avoid dismissal under the Anti-SLAPP statute, Plaintiff must prove that Ms. Doe had no good

faith basis to believe Plaintiff violated Yale's policies. (See Memorandum at 29.) He has

submitted no such evidence. (Objection.) Plaintiff has failed to carry his burden and the Court

must dismiss his claims. See, e.g., Dcry, 2019 WL 994532, at *5—*6.




5 In contrast, and even though Ms. Doe has no burden of proof, see Conn. Gen. Stat. § 52-196a(e)(3), Ms. Doe has
submitted a declaration establishing that her report was made in good faith. (Doc. 27-1 ("In 2015, I reported to Yale
and the Yale Police Department conduct by Plaintiff that I believed violated my tights and Yale policies against sexual
misconduct.").) Ms. Doe's declaration has the force of and is equivalent to a sworn affidavit. See 28 U.S.C. § 1746.

~ In Plaintiffls criminal case,"consent' was subject to a "criminal negligence" standard that required the State to prove
beyond a reasonable doubt that Plaintiff's conduct "constitute[d] a gross deviation from the standard of care that a
reasonable person would observe in the situation." Efstathiadis v. Holder, 317 Conn. 482, 494, 496, 119 A.3d 522,
530 (2015).

~ Plaintiff could have submitted a declaration and other evidence but chose not to. He now expects to burden the Cout-t
and parties with an evidentiary hearing, even though the Anti-SLAPP statute refers courts to the "pleadings and
supporting and opposing affidavits." Conn. Gen. Stat. § 52-196a(e)(2). An evidentiary hearing is not warranted where
Plaintiff has not submitted a declaration or proffered actualfacts supporting his Objection.

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 PLAINTIFF CANNOT RELY ON EVENTS BEFORE JANUARY 9, 2017 TO SUPPORT
  HIS TORTIOUS INTERFERENCE CLAIM BECAUSE THE CONTINUING COURSE
                OF CONDUCT DOCTRINE DOES NOT APPLY.

          The core allegations underlying both of Plaintiff's claims concern conduct that allegedly

occurred in 2015. (Cmplt. ¶¶ 113, 119.) Plaintiff claims that Yale then expelled him three years

later.$ (Cmplt. ¶ 80.) Under Connecticut law, Plaintiff's claims of defamation and tortiotiis

interference ai°e subject to a two- and three-year statute of limitation, respectively. Conn. Gen.

Stat. § 52-597 (defamation); Conn. Gen. Stat. § 52-577 (torts). Thus, all of Plaintiff's allegations

related to conduct before January 9, 2018, and January 9, 2017, must be dismissed from Plaintiff's

defamation and tortious interference claims, respectively. That includes the following allegations:

    • Ms. Doe's initial report to friends on November 1, 2015,(Cmplt. ¶ 45);

    • Ms. Doe's written UWC complaint in November 2015,(Cmplt. ¶¶ 46, 47);

    • Ms. Doe going "public with her claim of rape" in November 2015,(Cmplt. ¶ 46);

    • Statements Plaintiff made to Yale (or anyone else) in November 2015,(Cmplt. ¶ 16);

    • Statements Ms. Doe made to individuals associated with the criminal process prior to
      January 2017/2018,10 (Cmplt. ¶ 48); and




8 The Court should dismiss the allegations regarding Ms. Doe's post-January 2018 purported conduct because Ms.
Doe has immunity for that alleged conduct for the reasons discussed above. Ms. Doe does not seek dismissal of
Plaintiff's allegations t•egarding conduct that allegedly occurred after January 9, 2018 on statute of limitation grounds.
Ms. Doe discusses Plaintiff's post-January 2018 allegation regarding her purported involvement in the UWC in this
section only to demonstrate that Plaintiff's allegation does not render the continuing course of conduct doctrine
applicable.

~ Plaintiff concedes that he cannot rely on any "conduct prior to December 13, 2017" to support his defamation claim
because any claim based on such conduct is "time-barred." (Objection at 5.) Plaintiff is actually bar~~ed from t~elying
on any conduct prior to JanL~ary 9, 2018, to support that claim because "[i]t is well settled that in Connecticut . . , a
case is considered `brought' for purposes of a statute of limitations on the date of service of the complaint . . .and
that, in a federal diversity action, such state rules control . . . ." Kotec v. Japanese Educ. Inst. OfN. Y., 321 F. Supp.
2d 428, 431 (D. Conn. 2004). Plaintiff served counsel for Ms. Doe on January 9, 2020. (Doc. l3.)

10 Plaintiff does not particularize any such state~r~ents and has conceded that any such statements are outside the scope
of his claims. (Objection at 10; see also Objection at 7 (discussing immw~ity)).

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     • Anything that allegedly constituted Ms. Doe "persist[ing]" with her allegations or' engaging
       in a purported "crusade" to have .Plaintiff expelled prior to January 2017/2018,11 (Cmplt.
       ¶¶ 115, 119).

          Even though these allegations ai~e time-barred, Plaintiff asks the Court to consider the

 alleged conduct Linder the continuing course of conduct doctrine. That doctrine is not applicable

 in this case.

         "[T]he continuing course of conduct doctrine recognizes that the `act' or `omission' that

 commences the limitation period may not be disc~~ete and attr^ibutuble to a fixed point in time."

 Essex Ins. Co, v. William KNcrmer & Assocs., LLC, 331 Conn. 493, 503, 205 A.3d 534, 540-41

(2019) (emphasis added).               For example, in Shzkhman v, Bobcat Endoscopy, LLC, No.

 X03HHDCV176087023S, 2019 WL 3781699, at *2 (Conn. Super. Ct. July 15, 2019), the Coutt

 applied Essex Insu~°ante Co., 331 Conn. at 503, to dismiss claims of fraudulent misrepresentation:

         The continuous course of conduct doctrine does not apply here because there was
         no continuous course of the alleged conduct. The plaintiff alleges that the
         defendants made c~i.screte, specific mis~~epre.sentations to him in 2006, 2009, and
         2012. There are no allegations of misrepi°esentations after that point. Thus, it is
         enti~°ely possible to "pinpoint the exact date of a particular negligent act or
         omissions that caused injury."

(Emphasis added).~~

         For the continuing course ofconduct doctrine to apply, the "plaintiff must establish [among

other things] that the defendant . . ,continually breached [a] duty." Essex Ins. Co., 331 Conn, at




"The allegations that Ms. Doe was on a "crusade" to have Plaintiff expelled and that Ms. Doe "persisted" with respect
to her allegations are not facts. They are conclusory arguments that the Court may not accept as true. See, e.g.,
Ashcroft v. Igbal, 556 U.S. 662, 678 (2009).

 ~~ See, also, e.g., Evanston Ins. Co. v. Willaam Kranaei• & Assocs., LLC, 890 F.3d 40, 50 (2d Cir. 2018), certified
ga~estion anstivered sub Horn. Essex Ins. Co., 331 Conn, at 493 ("[F]or a series of subsequent wrongful omissions to
trigger the continuing course of conduct doctrine, the series mz~st be mo~~e th~~h a collection of`repeated events giving
rise to discrete injuries . . . In such a case the damages ft•om eac}~ discrete act wo~ild be readily calc~ilable without
waiting for the entire series of acts to end. There would be no excuse for delay. And so the violation would not be
deemed "continuing.""'(emphasis added)(alterations omitted)(quoting Watts v. Crittenden, 301 Conn. 575, 22 A.3d
]214, 1222(20 11)).

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 504. In International Strategies GNp., Itd. v. Ness, 645 F.3d 178, 184 (2d Cii~. 2011), the Second

 Circuit applied that standard in concluding that the plaintiff had "not plausibly alleged that tolling

[was] warranted" because a "single-page, handwritten fax sent twenty months after any other

 alleged misrepresentation by [the defendant] does not plausibly link up to form a continuous course

 of conduct." Id. (quotation marks omitted). The fact that the fax was related to prior improper

 conduct did not matter. Id.

         Finally, "both the [ConnecticLtt] Appellate Court and the [United States District Court foi•

 the District of Cotuiecticut] agree that `the continuing course of conduct doctrine has no

 application after the party has discovered the harm."'                            Wolinsky v. I3r~ady, No.

 MMXCV 156012973, 2016 WL 2890412, at *4(Conn. Super. Ct. Apr. 27, 2016)(citing Roscsto v.

Mascuj°do, 82 Conn. App. 396, 405, 844 A.2d 893 (2004)13 and AT Engine Contl°ols Ltd. v.

Goodrich Pump &Engine Control Sys., Inc., No.3:10-CV-01539 JAM,2014 WL 7270160, at * 15

(D. Conn. Dec. 18, 2014), aff'd, 637 F. App'x 645, 646 (2d Cir. 2016)); see Gould v. Indian

Mountain Sch., Inc., No. 3:18-CV-582(JBA),2020 WL 1244920, at *9(D. Conn. Mar. 16, 2020).

         In this case, Plaintiff's tortious interference claim is based on "the promulgation . . . of

[allegedly] intentionally fabricated accusations against" Plaintiff. (Cmpit. ¶ 119.) Plaintiff alleges

that Ms. Doe made her first allegations in early November 2015. (Cmplt. ¶ 46.) The continuing

course of conduct doctrine is therefore inapplicable to Plaintiff's claim because he bases it on a

discrete and fixed point in time. See, e.g., Essex Ins. C'o., 331 Conn. at 503. Indeed, all of

Plaintiff's claims are based on a purported collection of discrete alleged misrepresentations that




13 Rosato concerned an action subject to Che statute of limitation in Connecticut General Statutes § 52-584. Rosato,
82 Conn. App. at 404. Connecticut State and Federal Courts have, however, applied Rosato's holding to actions that,
like the present one, are governed by Connecticut General Statutes § 52-577 and other statutes of limitations. See,
e.g., Coss v. Stewart, No. CV085007541, 2010 WL 1050534, at *6 & n.l (Conn. Super. Ct. Feb. 1 I, 2010), aff'd sub
nom. Coss v. Steward, 126 Conn. App. 30, 10 A.3d 539(2011) and cases cited above.
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  allegedly occurred on specific, discoverable dates. (See Cmplt. ¶¶ 45-48.) See Shikhman, 2019

  WL 3781699, at *2 (concluding that continuous course of conduct doctrine is inapplicable to

  discrete misrepresentations). With one exception, those purported misrepresentations allegedly

  occurred in November 2015. The one exception was Ms. Doe's statement to the UWC three years

  later, in November 2018.1` (Cmplt. ¶ 77.) That three-year gap is significantly longer than the

 twenty-month gap that the Second Circuit found to be too long in International Strategies Group.

  Moreover, Plaintiff was aware of Ms. Doe's allegations when they were made in 2015 because

  Yale suspended him as a result of those allegations. (Cmplt. ¶ 47.) For that additional reason, the

 continuing course of conduct doctrine is inapplicable. See, e.~., AT Engine Conti°ol.s Ltd., 2014

 WL 7270160, at * 15.

          Plaintiff's allegations establish that the continuing course of conduct doctrine is

 inapplicable, and he therefore cannot rely on events that occurred prior to January 9, 2017 to

 support his tortious interference claim oi• on events that occurred prior to January 9,2018 to support

 his defamation claim.




'a Not only does Plaintiff not allege any actionable conduct on Ms. Doe's part for' three years,(see supra notes ]0 &
  1 1 (noting that Plaintiff is not basing claims on Ms. Doe's involvement in the criminal process and that his allegations
 regarding a "crusade" and Ms. Doe "persist[ing]" are concluso~y arguments, not well-pleaded facts)), Plaintiff alleges
 that in November 2015, Yale stayed Ms. Doe's complaint to the UWC and that nothing occureed with respect to Ms.
 Doe's complaint until years later. (Cmplt. ¶ 51; see also Cmplt. ¶ 57 (alleging that "throughout the 2017/2018
 academic year,[Yale] took no steps to bring to a closure the stayed UWC disciplinary procedure").) Plaintiff's own
 allegations render false his contention that Ms. Doe engaged in a continuous course of conduct for "almost four years."
(Objection at 5.)

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                                  CONCLUSION

The Court should dismiss Plaintiff's claims against Ms. Doe in their entirety with prejudice.

                                              Respectfully submitted,

                                              DEFENDANT JANE DOE


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                                CERTIFICATION OF SERVICE

        This is to certify that on this 30th day of .Tune 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court's

electronic filing system.



                                          /s/.Ia~nes M. Sconzo
                                       James M. Sconzo
